              Case 22-11068-JTD              Doc 23986-1          Filed 08/28/24         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Hearing Date: Sept. 12, 2024 at 1:00 p.m. (ET)
                                                                Obj. Deadline: Sept. 5, 2024 at 4:00 p.m. (ET)


                                            NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) the Media Intervenors; (c) the Securities and Exchange
         Commission; (d) the Internal Revenue Service; (e) the United States Department of
         Justice; (f) the United States Attorney for the District of Delaware; and (g) to the extent
         not listed herein, those parties requesting notice pursuant to Bankruptcy Rule 2002.

       On August 28, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (the “Debtors”) filed the Fifth Joint Motion of the Debtors and the Official Committee
of Unsecured Creditors for an Order Authorizing the Movants to Redact or Withhold Certain
Confidential Information of Customers (the “Motion”).

       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before September 5, 2024 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on September 5, 2024.

       A HEARING ON THE MOTION WILL BE HELD ON SEPTEMBER 12, 2024 AT
1:00 P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, CHIEF UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5th FLOOR,
COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.


1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
          Case 22-11068-JTD   Doc 23986-1     Filed 08/28/24   Page 2 of 2




Dated: August 28, 2024                LANDIS RATH & COBB LLP
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                                      -and-

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                                      Counsel for the Debtors and
                                      Debtors-in-Possession




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